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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

                               :
   STATE OF MINNESOTA, BY      :
   ITS ATTORNEY GENERAL,       :
   KEITH ELLISON,              :
                               :
                  Plaintiff,   :
                               :            Civil Action No.: 18-cv-14999
            v.                 :                    (BRM)(LHG)
                               :
   SANOFI-AVENTIS U.S. LLC,    :
   NOVO NORDISK, INC., AND ELI :
   LILLY AND CO.,              :
                               :
                  Defendants.  :
                               :


      THE STATE OF MINNESOTA’S MEMORANDUM OF LAW IN
     OPPOSITION TO DEFENDANTS’ JOINT PARTIAL MOTION TO
       DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
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                                 INTRODUCTION

        Defendants have harmed many of Minnesota’s most vulnerable citizens by

  fraudulently misrepresenting the price of their insulin products.      By widely

  disseminating false and misleading list prices through a series of deceptive public

  advertisements, Defendants have engaged in illegal conduct that violates both

  RICO and Minnesota’s False Statement in Advertising Act.            The State of

  Minnesota respectfully requests that the Court deny Defendants’ Joint Partial

  Motion to Dismiss the State’s Second Amended Complaint, so that the State of

  Minnesota may have available the full scope of remedies it is entitled to pursue to

  end Defendants’ fraud and the damage they continue to inflict upon the State of

  Minnesota and its citizens.

                                  BACKGROUND
        On March 31, 2020, the Court granted in part and denied in part Defendants’

  Motion to Dismiss the State’s First Amended Complaint. State of Minnesota v.

  Sanofi-Aventis U.S. LLC, et al., No. 18-cv-14999, 2020 WL 2394155 (D.N.J. Mar.

  31, 2020) (ECF No. 74).       In that decision, the Court held that the State’s

  allegations that Defendants have fraudulently misrepresented the price of their

  insulin products was legally sufficient to state a claim under Minnesota’s

  Consumer Fraud Act, Minnesota Statutes section 325F.68-.694 and Minnesota’s

  Uniform Deceptive Trade Practices Act, Minnesota Statutes section 325D.43-.48,


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  and that this fraud was also unjustly enriching defendants. Id. at *17-18 and *21-

  22.

        The Court, however, dismissed without prejudice Counts I-XII of the First

  Amended Complaint, which alleged violations of the Racketeer Influenced and

  Corrupt Organizations Act, 18 U.S.C. § 1961-1968 (2020) (“RICO”). Sanofi-

  Aventis U.S. LLC, 2020 WL 2394155 at *7-14. In doing so, the Court noted that

  the “Third Circuit has not directly addressed whether RICO allows for a private

  right of equitable relief,” and cited the persuasive authority of cases from the

  District of New Jersey. Id. at *23.

        The Court also dismissed without prejudice the State’s Count XV brought

  under Minnesota’s False Statement in Advertising Act, Minnesota Statutes section

  325F.67 (“MFSAA”). Sanofi-Aventis U.S. LLC, 2020 WL 2394155 at *18-19. In

  reaching its decision, the Court summarized the parties’ arguments about whether

  the State had alleged that Defendants disseminated any “advertisements” covered

  under the MFSAA and whether the State’s allegations were sufficiently pled. Id. at

  *19. Without ruling on whether the publication of Defendants’ list prices for

  insulin were “advertisements” under the MFSAA, the Court held that the State’s

  factual allegations were not sufficiently robust to sustain a cause of action under

  the MFSAA. Id. With respect to the State’s allegations concerning Defendants’

  publication of list prices, the Court determined:

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        [U]nder the facts presented here the connection between the
        publication of list prices and consumer action [is] too attenuated to
        sustain a cause of action pursuant to the MFSAA.

  Id.

        With respect to the State’s allegations that Defendants have caused the

  public dissemination of promotional and marketing materials with falsely inflated

  prices, the Court likewise held that:

        Plaintiff’s MFSAA claim regarding Defendants’ dissemination of
        promotional and marketing materials [is] inadequately pled. The
        entirety of Plaintiff’s allegations about this alleged conduct consists of
        a single sentence, repeated two separate times. While Plaintiff[]
        certainly need not provide exhaustive detail about each and every
        piece of promotional and marketing materials, the Court cannot
        conclude, on the basis of a single sentence, that they have adequately
        pled an advertisement under the MFSAA.

  Id. (internal citations omitted).

        The State subsequently filed a Second Amended Complaint (“SAC”),

  altering the relief the State sought under RICO, noting support for such relief in the

  Third Circuit. (ECF No. 77.) The State also presented newly alleged facts about

  the connection between Defendants’ publication of misleading and deceptive list

  prices and the harm these false advertisements have caused consumers, including:

         • Alleging that Defendants disseminated false advertisements through
           publicly available publications—including the Red Book, Gold Standard
           Database, and Medi-Span Price Rx—and noting that these publications
           cannot independently verify the accuracy of Defendants’ deceptive and
           misleading prices because the rebates negotiated between Defendants
           and Pharmacy Benefit Managers (“PBMs”) are confidential, which

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            establishes a direct line between Defendants’ deceptive conduct and its
            dissemination to the public. (Id. ¶ 34.);

         • Alleging that the trade publications that disseminate Defendants’ false
           and misleading insulin prices advertise that their publications are used to
           set the price of prescription drugs through retail pharmacies that rely on
           Defendants’ deceptive list prices, and that these pharmacies update the
           prices they charge for insulin in real-time in response to Defendants’
           misleading prices. (Id. ¶ 35 & 75.); and

         • Alleging that at least one Minnesota pharmacy directly relies on false
           advertisements disseminated by two Defendants through the Gold
           Standard Drug Database to set inflated cash prices for insulin. (Id. ¶ 35.)

        The State also alleged new facts to support its contention that Defendants

  have caused false statements to be publicly disseminated through promotional and

  marketing materials, including:

           • Alleging that Defendants’ publication of false and misleading prices
             causes PBMs to falsely advertise savings through prescription drug
             card programs that directly rely on Defendants’ inflated prices by
             publishing promotional and marketing materials downstream in the
             drug supply chain, including entities advertising and distributing
             prescription drug card programs that are caused by Defendants’
             misleading list prices. (Id. ¶ 36 & 83-84); and

           • Alleging that Defendants’ publication of false and misleading prices
             causes PBMs to falsely market undiscounted drugs directly to
             consumers. (Id. ¶ 85-86).

        After filing this Second Amended Complaint, Defendants again moved to

  dismiss the State’s Counts I-XII and XV. (ECF No. 93.)




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                                       ARGUMENT
          “A motion to dismiss pursuant to Rule 12(b)(6) may be granted only if,

  accepting all well pleaded allegations in the complaint as true, and viewing them in

  the light most favorable to plaintiff, plaintiff is not entitled to relief. . . . The issue

  is not whether a plaintiff will ultimately prevail but whether the claimant is entitled

  to offer evidence to support the claims.” In re Avandia Mktg., Sales Practices &

  Prod. Liab. Litig., 804 F.3d 633, 637–38 (3d Cir. 2015) (footnotes and quotations

  omitted).

     I.        THE STATE SHOULD BE PERMITTED TO ENJOIN DEFENDANTS’ SCHEME
               TO DEFRAUD THE PUBLIC IN VIOLATION OF RICO, AS OTHER COURTS
               IN THE THIRD CIRCUIT HAVE PERMITTED.

     The State should be afforded the same opportunity provided to private plaintiffs

  in the Third Circuit to develop its claims that Defendants must be enjoined from

  engaging in damaging and illegal racketeering activities in violation of RICO.

          A.     Courts in the Third Circuit Have Permitted Private Litigants to
                 Pursue Injunctions Against Fraudulent Enterprises for Violations
                 of RICO.
          While the Third Circuit has not expressly held that non-federal-

  governmental parties can obtain injunctive relief under RICO, the Third Circuit has

  indicated that the powers available to the Court under RICO extend beyond those

  specifically enumerated for private and federal government parties.                  That

  conclusion is the same as the one reached by the Second Circuit in Chevron Corp.


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  v. Donziger, 833 F.3d 74 (2d Cir. 2016) and the Seventh Circuit in Nat’l Org. for

  Women, Inc. v. Scheidler, 267 F.3d 687 (7th Cir. 2001). Other circuits have also

  indicated that injunctive relief may be available to private parties. See Bennett v.

  Berg, 685 F.2d 1053, 1064 (8th Cir. 1982).

        RICO’s civil remedies are divided into three parts: (a) relief in the Court’s

  discretion; (b) relief specific to the United States Attorney General; and (c) relief

  specific to private parties seeking damages. 18 U.S.C. § 1964(a)-(c). Defendants

  argue that because the injunctive relief in 1964(a) is not expressly extended to the

  private litigants mentioned in 1964(c), such relief is unavailable to private

  plaintiffs. (Defs.’ Memo. at 7-8.) But the Third Circuit has held that the remedies

  in 18 U.S.C. § 1964(a) are available to parties whose rights of action are

  enumerated later in RICO.

        For example, in U.S. v. Local 560, 780 F.2d 267 (3rd Cir. 1985), the district

  court ordered that the executive board of the defendant be removed as equitable

  relief under section 1964(a). Such relief went beyond what is reserved to the

  government in section 1964(b), but the Third Circuit found that supplying a

  remedy in section 1964(a) to a plaintiff whose relief is otherwise specified in

  section 1964(b) is not only permitted, but specifically contemplated in the design

  of the statute. Local 560, 780 F.2d at 295. The same reasoning was applied in

  Donziger. See 833 F.3d at 138 (noting statutory design of RICO and concluding it

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  is consistent with permitting private plaintiffs to pursue equitable remedies,

  including injunctive relief). In this case, the State is seeking to pursue relief not

  reserved specifically to it by RICO, but rather the injunctive relief available to any

  party under section 1964(a). Specifically, the State is requesting that the Court

  “impos[e] reasonable restrictions on the future activities or investments of any

  person, including, but not limited to, prohibiting any person from engaging in the

  same type of endeavor as the enterprise engaged in. . . .” 18 U.S.C. § 1964(a).

        District courts in New Jersey have recognized the need to keep RICO

  injunctive relief available to private plaintiffs past the motion to dismiss stage of

  litigation. In McLendon v. Continental Gp., 602 F.Supp. 1492, 1519 (D.N.J.

  1985), the court observed that the law was in flux, specifically noting the Second

  Circuit’s holding against injunctive relief, and that dismissal of the availability of

  injunctive relief before trial would be “unwise.” Citing McLendon, the court in

  Foster Wheeler Corp. v. Edelman, No. 87-4346, 1987 WL 61446, at *6 (D.N.J.

  Dec. 9, 1987), similarly denied a motion to dismiss a private plaintiff’s request for

  injunctive relief.   And a court in the Third Circuit’s Western District of

  Pennsylvania affirmatively held that injunctive relief was available to private

  plaintiffs using the same logic present in Donziger. Chambers Dev. Co., Inc. v.

  Browning-Ferris Indus., 590 F.Supp. 1528, 1540-41 (W.D.Pa. 1984) (finding

  support in both the plain language and statutory history of RICO).

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        Because remedies, including injunctive relief, are available to non-federal-

  government plaintiffs under section 1964(a), and because courts within the Third

  Circuit have recognized that it is unwise to dismiss these claims for injunctive

  relief at this stage in litigation, the State respectfully requests that this Court follow

  other courts within the Third Circuit and permit the State to pursue injunctive relief

  under section 1964(a).

        B.     The State Respectfully Requests that the Court Follow Other
               Decisions in the Third Circuit and Permit the State to Seek an
               Injunction under RICO.
        Defendants erroneously assert that the State is precluded from seeking

  injunctive relief under RICO under the law of the case doctrine. (Defs.’ Memo. at

  4-5.) Applying the “law of the case” doctrine is within the sound discretion of the

  district court. Pub. Interest Research Gp. of N.J. v. Magnesium Elektron, Inc., 123

  F.3d 111, 116 (3rd Cir. 1997). The law of the case doctrine “does not limit” the

  Court’s authority. Arizona v. California, 460 U.S. 605, 618 (1983). Third Circuit

  precedent has recognized numerous, non-exclusive situations in which a Court

  need not follow the law of the case doctrine. See, e.g., Bridge v. U.S. Parole

  Comm’n, 981 F.2d 97, 103 (3d Cir. 1992) (specifying factors).

        The State respectfully requests that the Court exercise its discretion and

  allow the State to pursue injunctive relief under RICO. The Court’s prior decision

  dismissing the State’s RICO counts is from the same stage of litigation—the


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  preliminary motion to dismiss stage. The parties have not begun litigation in

  earnest, or taken depositions, or taken any costly actions in reliance on the Court’s

  prior decision. Allowing the RICO injunction request to proceed would not work

  any injustice or harm the cause of judicial economy. The Court’s prior decision

  indicated that no cases from within the Third Circuit allowed private injunctive

  relief under RICO, but the cases cited above indicate that courts in the Third

  Circuit have allowed such claims to survive a motion to dismiss.

        The State respectfully requests that the Court permit the State to pursue the

  remedy of injunctive relief under RICO to stop Defendants’ practice of routinely

  transmitting fraudulently inflated insulin prices, which makes a lifesaving drug

  unaffordable for many who need it. Defendants are unlawfully “engaged in…the

  conduct of [defendants’] affairs through a pattern of racketeering activity,” 18

  U.S.C. § 1962(c), and the State requests that it be permitted to develop its case that

  this activity be enjoined.

  II.   THE STATE HAS PROPERLY RE-PLEADED ITS ALLEGATIONS THAT
        DEFENDANTS’ FRAUDULENT PRICING SCHEME VIOLATES MINNESOTA’S
        FALSE STATEMENTS IN ADVERTISING ACT (“MFSAA”).
        The State’s new factual allegations directly connect the harm Defendants

  have inflicted on Minnesotans through their public dissemination of false and

  misleading list prices of insulin in two ways. First, Defendants have placed before

  the public a series of deceptive list prices that directly raise the price some


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  Minnesota pharmacies charge to vulnerable Minnesotans for their insulin. (SAC

  ¶¶ 34, 35, and 75.) Second, Defendants’ false and misleading list prices indirectly

  cause entities downstream in the drug supply chain to falsely advertise that they are

  providing discounts to consumers in need of assistance. (Id. ¶¶ 36 and 83-86.) In

  each case, these false and misleading statements are advertisements under

  Minnesota law, and the State has therefore properly pled its allegations under the

  MFSAA.

        The MFSAA provides that it is violation of Minnesota law when any person:

        [M]akes, publishes, disseminates, circulates, or places before the
        public, or causes, directly or indirectly, to be made, published,
        disseminated, circulated, or placed before the public . . . in a
        newspaper or other publication, or in the form of a book, notice,
        handbill, poster, bill, label, price tag, circular, pamphlet, program, or
        letter . . . or in any other way, an advertisement of any sort regarding
        merchandise . . . or anything so offered to the public [that] contains
        any material assertion, representation, or statement of fact which is
        untrue, deceptive, or misleading.

  Minn. Stat. § 325F.67 (2020). Under Minnesota law, advertisements are those

  statements that “make announcement of” and “call the attention of the public to a

  product or business.” UnitedHealth Grp. Inc., v. State of Minnesota, No. A06-

  2013, 2007 WL 4234545 *4 (Minn. Ct. App. Dec. 4, 2007). Advertisements need

  not be directed at consumers, provided that the advertisements are:               (1)

  disseminated to the public, (2) with the intent to sell something. Kronebusch v.

  MVBA Harvestore System, 488 N.W.2d 490, 494 (Minn. Ct. App. 1992). In

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  construing the MFSAA, “Minnesota courts have focused on the defendant’s

  actions” rather than the potential actions or harm suffered by the public. Id.

  Minnesota’s consumer protection statutes, including the MFSAA, must be “very

  broadly construed to enhance consumer protection.” State v. Philip Morris, Inc.,

  551 N.W.2d 490, 495–96 (Minn. 1996).

        Defendants’ publicly disseminated list prices are advertisements under

  Minnesota law because these deceptive statements:             (1) call attention to

  Defendants’ products through the use of false prices and (2) are intended to—and

  did in fact—influence the sale of their insulin products.       Under Minnesota’s

  broadly construed consumer protection statutes, these facts are sufficient to sustain

  a cause of action under the MFSAA at this stage of the litigation. See Grp. Health

  Plan v. Philip Morris Inc., 621 N.W.2d 2, 11 (Minn. 2001) (stating it is not role of

  courts “to narrow the reach [of Minnesota’s consumer protection statutes] where

  the legislature has spoken in unequivocally broad terms”).

        Defendants offer three unpersuasive arguments to dismiss the State’s claims

  under the MFSAA. First, Defendants claim that Court already “held that mere

  publications of insulin list prices are not ‘advertisements’ under the MFSAA.”

  (Defs.’ Memo. at 8.) The Court made no such ruling and clearly stated that “under

  the facts presented here, the connection between the publication of list prices and

  consumer action [is] too attenuated to sustain a cause of action pursuant to the

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  MFSAA.” Sanofi-Aventis U.S. LLC, 2020 WL 2394155 at *19 (emphasis added).

  As explained above, the State’s newly alleged facts clearly establish this

  connection.

        Second, Defendants contend that under the MFSAA, an advertisement must

  be a statement that is “directed” to a consumer. (Defs.’ Memo. at 8.) Defendants

  cite no case law interpreting the MFSAA for this bald assertion, and the Court has

  already correctly ruled that false or misleading statements need not be directed to

  consumers under Minnesota’s consumer protection statutes. Sanofi-Aventis U.S.

  LLC, 2020 WL 2394155 at *15 (“Because Defendant[s] fail[] to cite to any cases

  where courts have specifically held that Minnesota’s consumer protection statutes

  require [deceptive] action to be specifically directed at consumers to be actionable,

  the Court finds, on this basis, they have failed to meet their burden to show that no

  claim has been presented.”).      In fact, the Minnesota Court of Appeals has

  determined that the MFSAA prohibits the dissemination of false statements to

  “non-consumers” in order to “give full effect” to the Minnesota Legislature’s intent

  “to punish the public dissemination of false advertising” regardless of its effect on

  consumers. Kronebusch, 488 N.W.2d at 494; accord In re Average Wholesale

  Price Litig., 491 F.Supp.2d 20, 84 (D. Mass. 2007) (recognizing advertisements

  need not be directed to “consuming public” to fall within conduct prohibited by

  consumer protection statutes). Similarly, the advertisements covered under the

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  MFSAA are not limited to “traditional marketing” materials directed at consumers

  but include a broad swath of public statements. See Tuttle v. Lorillard Tobacco

  Co., 2001 WL 821831, *6 (D. Minn. July 5, 2001) (finding no authority under

  MFSAA to limit “advertisements” to “traditional marketing” materials and instead

  adopting expansive definition of advertisements to include non-recorded, verbal

  statements made in public).

        Finally, Defendants assert that there is no connection between their list

  prices and the actions of third-parties promoting prescription drug programs, and

  that in any event these prescription drug programs do not harm consumers. (Defs.’

  Memo. at 10-11.)         Contrary to Defendants’ claims, the connection is

  straightforward: By placing misleading and deceptive prices before the public,

  Defendants facilitate other entities downstream in the drug supply chain to falsely

  advertise that enrollment in their programs results in deep discounts, when in fact

  these drugs are made available at, or near, the actual, net price Defendants receive

  for insulin after sending rebates to PBMs. See Minn. Stat. § 325F.67 (prohibiting

  persons from indirectly causing another to publish, disseminate, circulate, or place

  before the public any material misrepresentations). As the State alleges, these

  advertised drugs are never sold by Defendants at the benchmark prices from which

  the prescription drug card programs advertise they are discounting, and it is only

  through Defendants’ advertisement of these inflated prices that prescription drug

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  card programs falsely advertise that consumers can obtain impressive-sounding

  discounts. (SAC ¶¶ 36 and 83-86.) In reality, the “discounts” are merely reflecting

  the real price of Defendants’ drugs, while falsely advertising that the prescription

  drug card program has obtained some special price for a consumer.

        Further, under the MFSAA, there is no requirement to show that a false

  advertisement caused a consumer to suffer financial harm. Kronebusch, 488

  N.W.2d at 494 (holding MFSAA “prohibits the public dissemination of misleading

  advertising with the intent to sell something to the public even if no one suffers

  pecuniary damages”). In fact, the State need not even allege that any consumers

  purchased a product in response to false advertising to sustain a cause of action

  under the MFSAA. See Grp. Health Plan, 621 N.W.2d at 4 (“Based on the broad

  language of the four [consumer protection] statutes and the legislative intent that

  the statutes create remedies broader than those available in an action for common

  law fraud, we conclude that the HMOs are not required to be purchasers of the

  defendants’ [tobacco] products in order to properly plead a claim under these

  statutes.”).

        Defendants have repeatedly placed false and misleading statements about the

  price of their products before the public with the intent that these deceptive

  statements influence the sale of their products—and these false advertisements

  have in fact affected the sale of their products. These allegations are sufficient to

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  sustain a cause of action under the MFSAA at this stage, and the State respectfully

  requests that the Court deny Defendants’ attempt to dismiss Count XV of the

  State’s Second Amended Complaint.

                                   CONCLUSION
        For the above reasons, the State’s RICO and MFSAA counts are well pled

  and state viable claims against Defendants. The State respectfully requests that the

  Court deny Defendants’ Motion to Dismiss in its entirety.

                                        LITE DEPALMA GREENBERG, LLC


  Dated: August 25, 2020                /s/ Jeremy Nash
                                        Jeremy Nash
                                        570 Broad Street, Suite 1201
                                        Newark, NJ 07102
                                        Telephone: (973) 623-3000
                                        Facsimile: (973) 623-0858
                                        jnash@litedepalma.com

                                        STATE OF MINNESOTA

                                        KEITH ELLISON
                                        Attorney General
                                        State of Minnesota

                                        JAMES W. CANADAY
                                        Deputy Attorney General

                                        JASON PLEGGENKUHLE (pro hac vice)
                                        Assistant Attorney General
                                        445 Minnesota Street, Suite 1200
                                        St. Paul, Minnesota 55101-2134
                                        (651) 757-1147
                                        jason.pleggenkuhle@ag.state.mn.us

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                                     ALEX K. BALDWIN (pro hac vice)
                                     Assistant Attorney General
                                     445 Minnesota Street, Suite 1200
                                     St. Paul, Minnesota 55101-2134
                                     (651) 757-1020
                                     alex.baldwin@ag.state.mn.us

                                     JUSTIN MOOR (pro hac vice)
                                     Assistant Attorney General
                                     445 Minnesota Street, Suite 1400
                                     St. Paul, Minnesota 55101-2134
                                     (651) 757-1060
                                     justin.moor@ag.state.mn.us

                                     NOAH LEWELLEN (pro hac vice)
                                     Assistant Attorney General
                                     445 Minnesota Street, Suite 1200
                                     St. Paul, Minnesota 55101-2134
                                     (651) 757-1420
                                     noah.lewellen@ag.state.mn.us

                                     Attorneys for State of Minnesota




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